
PER CURIAM
Respondent was arrested and charged with simple battery. Following the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Shannon Jay Thomas, Louisiana Bar Roll number 25522, be and he hereby is suspended from the practice of law for a period of one year and one day, retroactive to December 20, 2018, the date of his interim suspension.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
